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OF WISCONSIN

 

GLEN FRANKLIN, . Case No. 17 €-029 4
Plaintiff 2 mee he PW]
VS. rs
Wirse Practitioner Bowens,
Jane Soe Health ServiceasManager 1 FEB 23' AWE L9

Judy Smith, warden Oshkosh Correctional Institution
John Litscher, Secretary Wisconsin Dept of Corrections,  — .
Defendants. HRY

 

CIVIL COMPLAINT PURSUANT TO 42 USG Section 1983:

 

JURISDICTION AND VENUES:
4 This is a civil action authorized by 42 USC Section 1983

to redress the deprivation, under. color of state law, of rights
secured by the Constitution of the United States. The Court has
jurisdiction under 28 USG Sections 1331 and 1343(a)(3). Plaintiff
seeks declaratory relief pursuant to28 USC Sections 2201 and
2202. Plaintiff claims for injunctive relief are authorized by
28 USC Sections 2283 and 2284 and Rule 65 of the Federal Rules
of Civil Procedure.
2. Plaintiff, Glenn Frankiln is a United States citizen and
an adult resident of Wisconsin,at all times relesant to this
actionbhe was incarcerated as a state prisoner under the custody,
control and jurisdiction of Oshkosh Correctional Institution
where he is now housed at P.O. Box 3310 Oshkosh, Wisconsin 54903-
3310. :

DEFENDANTS ;
3. Jon F. Litscher is a United States citizen and an adult resident
of Wisconsin. He is employed as the Secretary of the Wisconsinn
Department of Gorrections(WDOC), whose last address was at 3099
East Washington Avenue-P.0. Box 792535Madison, Wisconsin 53707.
As such he personally or by his designee participated in the
final decisions on the inmate complaints at issue and as &hehn
top official ove WDOC has the power to prevent, correct and/or
otherwise prohibit the violations of prisoner's Constitutional
rights as alleged herein.
4. Judy Smith is a United States citizen and an adult resident
of Wisconsin. She is employed as the warden at Oshkosh Correctional
Institution(OSCL), whose last address was at 1730 West Snell
Road=P.0. Box 3530-Oshkosh, Wisconsin 54903-3530. Sie as the
top official personally or by her designee participated in the

final decisions made on the inmate complaints at issue in this

complaint. 2:17-cv-00251-LA Filed 02/23/17 Page 1of3 Document1 .
5°

Jane Boe Health Services Manager is a United States citizen and
an adult resident of Wisconsin. She is employed as the Health
services Manager at OSCI. She has the authority to prev ent,

correct” and/or otherwise prohibit the violations of prisoner's

Constitutional rights as alleged herein

‘Nurse. Practitiober Bowens is a United States citizen and an adult

rersident of Wisconsin. She is employed at the Oshkosh Correctional
Institution as a Nurse Practitioner. She has the authority to
prevent, correct and/or otherwise prohibit the violations of
prisoner's Constitutional rights as alleged herein.

7. FACTS :

In 20145 Plaintiff submitted numerous health services requests
complaining about stomach pains, swollen testicals, and lower
abdomen pains. These were accompanied with bloody stools as well.
Plaintiff spent two days at one point in the haalthe servicess
unit due to the swollen testicals and severe pain in his abdomen
and testes. The pain was so unbearable that the Plaintiff rocked
back and forth on his side crying all night both nights.

In 2016after over two years of complaining to Defendant
Bowens and the Health services manager, who both refused to refer
Plaintiff to a regthar physician, Plaintiff filed an inmate grievance,
several to be exact, the grievances were dismissed, appealed
and dismissed again
8. Plaintiff filed the present complaint because the defendants
have refused to treat an obvious serious ailment, that has left ©
him in pain for years. They have acted with deliberate indifference
to the serious medical needs of this Plaintiff in violation of
the 8th Amendment to the United States Constitution.
9.PA11 defeadants ave sued in their official and individual capacities.
At all times mentioned in this complaint each defendant acted
under color of state law.

10. Prison officials violate the 8th Amendment when they act

with deliberate indifference to a prison condition that exposes

a prisoner to an unreasonable risk of serious harm. Farmer v.
Brennan, 511 U.S. 825(1994); Longoria v. Texas, 473 F.3d 586(5th
Cir.2006).

11. Plaintiff realleges and incorporates by reference paragwaphs
1-10.

12. The Plaintiff has no plain, adequate or complete remedy at
lj;aw to redress the wrongs described herein. Plaintiff has been

and willcontinue to be irrep arably a7 Bage by the conduct
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and injunctive relief which plaintiff seeks by suit.
PRAYER FOR RELIEF:

WHEREFORE#PLEADINGS CONSIDERED, Plaintiff respectfully
preays that this Honorable Court will enter judgment granting
plaintiff:

A) A declaration that the acts and omissions described herein
violated Plaintiff's rights under the Constitution and laws of
the United States;

Bi A preliminary and permanent injunction ordering defendants

to treat the ailments of the plaintiff without delay;
6)Compensatory damages in the amount of $125,000.00 against each
defendant jointly and severally.

D) Bunitive damages in the amount of $10,000.00 against each
defendant.

E) A Jury trial on all triable issues.

F)Plaintiff's costs in suit.

G) any additional relief this court deemmsjust, proper and equitable.

RESPECTFULLY SUBMITTED,

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Glen Franklin-Plaintift

# 163696

P.O. Box 3310

Oshkosh, Wisconsin 54903-3310

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